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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLO RIDA
                         CaseNo.:l7-6o6lo-civ-ungaro/otazo-Reyes

    TA M Y K A M .LEE,
    on behalfofherselfand
    al1otherssim ilarly situated,

          Plaintiff,



    POLLACK & RO SEN .P.A.and
    JOSEPH F.ROSEN ,

           Defendants.
                                                    /


                               FINAL APPRO VAL ORDER
           PlaintiffTamykaM .Leebroughttheinstantaction againstDefendantsPollack &

    Rosen,P.A.and Joseph F.Rosen foralleged violationsofthe FederalFairDebt

    CollectionPracticesAct(VTDCPA''),15U.S.C.j 1692 etseq.OnJanuary5,2018,the

    PreliminaryApprovalOrder(Doc.No.52)regardingthisclassaction settlementwas
    entered (ttpreliminary ApprovalOrder'')which,amongotherthings,conditionally
    certified aclassasdefined in the Com plaintforsettlementpurposesonly and directed

    noticeoftheSettlementtotheClass.Thepartiesnow movejointlyforfinalapprovalof
    theirclassaction Settlem ent.H aving reviewed a1lpaperssubmitted on thism atter,and

     good cause appearing,itisHEREBY ORDERED ,ADJU DGED and DECREED as

     follow s:
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                   ForpurposesofthisOrder,the Courtadoptsand incorporatesthe

    definitionssetforth intheClassAction SettlementAgreement(çdsettlementAgreement'').
                   TheCourthasjurisdiction overthesubjectmatterofthisactionandoveral1
    partiesto the action,including allClassM embers.

                   TheCourtgrantsfinalcertification to the Classforsettlem entpurposes

    only and findsthatthe requirementsofRule 23 oftheFederalRulesofCivilProcedure

    and theDue ProcessClause ofthe United StatesConstitution forthe maintenance ofa

    classaction havebeen satisfied in allrespects.

                    TheCourtcertifiestheSettlementClassdefined as:(i)al1naturalpersonsto
    whom Defendantssent,orcaused to be sent,a letterin the form ofExhibitA 1,to a

    mailingaddresslocated within theStateofFlorida,(ii)in an attempttocollectadebt
    arising from medicalcare atM emorialHealthcare System ,including M em orialRegional

    Hospital,M emorialRegionalHospitalSouth,JoeD iM aggio Children'sHospital,

    M emorialHospitalW est,M em orialHospitalM iram arand M em orialHospitalPembroke,

    (iii)during theone-yearperiodpriorto thefilingofthecomplaint.Defendantsrepresent

    there are approxim ately 2898 ClassM embers.

                    TheCourtm akesthe following findings:

                            TheClassissonumerousthatjoinderofal1membersis
    im practicable'
                  ,

                     (b)     There are questions of1aw orfactcom m on to the Class,and such

    questionspredominate overquestionsaffecting only individualClassM embers'
                                                                            ,


     lThe ClassNoticereferred to herein wastiled with the CourtatDE 48-2 and,afterhearing,waspreliminarily
     approved by the cour!atDE 52.
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                        Theclaim softhe nam ed Plaintiffistypicalofthoseoftheproposed

    Class;

                  (d)   ThenamedPlaintiffiscapableoffairlyandadequatelyprotecting
    the interestsofthe above-described Classin connection with the proposed Settlem ent

    Agreem ent'
              ,
                         Forpurposesofsettlement,a settlementwith the above-described

    Classissuperiorto otheravailable methodsforthefairand efficientresolution ofthe

    claimsofthe Class.
             6.   The CourtdesignatesPlaintiffTamykaM .Lee astheClassRepresentative.

                  TheCourtappoints0 .Randolph Bragg ofHorwitz,Horwitz & Associates,

    LTD .and Donald A .Yarbrough asClassCounsel.

             8.   N otice ofthe Settlem entwasdissem inated to the Classviafirstclassm ail

    to the approxim ately 2,837 ClassM embersassetforth in the SettlementAgreem entand

    thePreliminary ApprovalOrder. See AffidavitoftheClassA dm inistrator's

    representative,BaileyHughes,(DE 65).Thenoticefully informed theClassoftheir
    rightswith respectto the Settlem entAgreement,including therightto be excluded and to

    objectto theSettlementAgreement,therighttoenteranappearance,and theproposed
    statutory damagesand incentiveawardsto the named Plaintiffs.The notice given to the

    Classin thisaction isthe bestpracticable notice underthe circum stancesand satisfiesthe

    requirem entsofRule 23 oftheFederalRulesofCivilProceduresand the Due Process

     Clauseofthe United Stated Constitution.
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          9.     Pursuantto theClassActionFairnessAct,28U.S.C.j 1715etseq.,
    (''CAFA'')Defendantshavenotifiedtheappropriatestateand federalofficialsofthe
    Settlem ent. The Courthassetaside more than 90 daysto receiveand considerany

    commentorobjectionbyanygovernmententityinresponsetotheCAFA notices

    providedby Defendants.
                 The Courtfindsthatthe Settlem entAgreem entisfundam entally fair,

    adequate,and reasonable.Specifically,the legaland factualposture ofthiscase and the

    factthatthe Settlementwastheresultofarm s'length negotiationsbetween experienced

    counselsupportthisfinding.Noobjectionshavebeenfiledwith theCourt.Accordingly,
    the SettlementA greem entishereby finally approved in al1respects.


                 Plaintiff,eachmemberoftheClass,andeachoftheReleasingPersons(as
    definedintheClassActionSettlementAgreement(DE 34-2))aredeemedtohave,andby
    operationofthisOrdershallhaveunconditionally,released theReleasedParties(as
    definedin theSettlementAgreement(DE 34-2))from each andeveryclaim theyhaveor
    m ay have asserted againstthe Released Partiesin thisLawsuitassetforth in the

    SettlementAgreementandareforeverbarredandenjoinedfrom prosecutinganyclaim
    they have orm ay have againstthe Released Parties in this Law suit.

           13.    N am ed Plaintiff,each m em ber ofthe C lass,and each of the Releasing

    Persons'claimsaredismissed with prejudiceastotheReleased Parties.
           l4.    N am ed Plaintiff'sindividualclaim s againstD efendants are hereby

     dismissedwithprejudice.
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          15. Defendantsshallpay atotalof$13,785.00totheClassonaproratabasis

   pursuantto the term sof the Settlem entA greem ent.

                 Defendantsshallpay forthe costofclassnotice,preparation and

    distribution ofchecksto theclassm embers,claim sadministration,etc.assetforth in the

    Settlem entAgreem ent.
                 Plaintiffisthe successfulparty forthepurpose ofdeterm ining theam ount

    oftheaward ofreasonableattorneys'fees,costsand expenses, TheCourtadoptsthe

    ReportandRecommendationfiledApril3,2018(DE 63).Defendantsshallpay
    attorneys'fees,costsand expensesin the am ountof$39,000.00 to Plaintiff'scounsel.

                 TheCourtapprovesLegalAidofM iamiDadeCounty,a501(c)(3)non-
    profitorganizations,astherecipientofthe cy pres award which shallconsistofa11

    m oniesrem aining from the checksfrom the Settlem entFund which are notcashed within

    90 daysofthedate ofissuance.The cypresaward shallbeused forconsumer

    representation and/oreducation.

           19. Plaintiffisawarded $1,000.00 asstatutory dam agesfrom each D efendant

    pursuantto the FDCPA and atotalof$2,000.00 forherservicesasthe class
    representative in this action to be paid directly by Defendants.

           20. TheCourtherebyretainsexclusiveandcontinuingjurisdiction overthe
    partiesand the ClassM em bersforal1m attersrelating to thislitigation,including the

    adm inistration,intem retation,effectuation orenforcem entofthisO rder.

           D O N E A N D O RD ERED in the Southern D istrictofFlorida this       day of

                2018.
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                                    URSULA M .UNG A
                                    United StatesD istrictJudge
cc:Allcounselofrecord
